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 Name Andrea Bird (SBN 270791)
 Address 427 E 17th St. F-458
 City, State, Zip Costa Mesa, CA 92627
 Phone (949)929-4544
 Fax
 E-Mail abird@birdlg.com
 G FPD        G Appointed    G CJA       G Pro Per    G✘Retained

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
SHAYNA LATHUS, an individual                                            CASE NUMBER:

                                                                                               8:21-cv-00808-SB-DFMx
                                                     PLAINTIFF(S),
                                  v.
CITY OF HUNTINGTON BEACH, et al.,
 Defendants                                                                               NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                        SHAYNA LATHUS                                 hereby appeals to
                                                                   Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              ✘ Order (specify):
                                                                        G
 G Conviction and Sentence                                                   Order Granting Deft.'s Motion to Dismiss
 G Sentence Only (18 U.S.C. 3742)                                            (Docket No. 23)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on          September 29, 2021         . Entered on the docket in this action on September 29, 2021                         .

A copy of said judgment or order is attached hereto.


10/28/2021                                              /s/ Andrea Bird
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
